~.

Case 2:OO-cv-02863-.]PI\/|-tmp Document 447 Filed 05/06/05 Page 1 of 4 Page|D 368

HLL~£] :,3'?. ` @; l-
IN THE UNITED sTATEs DISTRICT coURT Ur__ ` D.c.
FOR THE wESTERN DISTRICT oF TENNESSEE \»‘I"»'.-'TW-,g fm
wEsTERN DIvIsIoN w *f'l 8-' 33
usi

 

JOHN N. HOPPER,
Plaintiff,
vs. Civ. No. 00-2863-M1[P

DAVID S. WOLFE, et al.,

Defendants.

~_r\_¢vvvv\_¢\_¢\_d'~.¢-..z

 

ORDER FOLLOWING HEARING GRANTING DEFEN'DANT'S MOTION TO COMPEL

 

Before the court is defendants Public Properties Management,
Inc. and David S. Wolfe's Motion to Compel, filed March 28, 2005
(dkt #404). In the motion, the defendants ask the court to order
the plaintiff to respond fully to interrogatories numbers ll, 12,
13, 14, and 16, which were propounded on the plaintiff on April 17,
2001. On April ll, 2005, the plaintiff filed his response to the
motion. Defendants filed a reply on May 3, 2005. On May 5, 2005,
the court held a hearing on the motion. Counsel for all interested
parties were present and heard. The parties agreed that the
interrogatories were proper and had been previously responded to by
the plaintiff, but disagreed on whether the responses were complete
or sufficiently specific. At the conclusion of the hearing, and

based on the arguments of counsel, the submitted briefs, and the

TmsdocumentenmredonthedocketshemlncompHa ce
warn Hu!e 53 and/or 79(3) FRCP on 5 '- ' -*

  

Case 2:OO-cv-02863-.]PI\/|-tmp Document 447 Filed 05/06/05 Page 2 of 4 Page|D 369

entire record, the court concluded that the plaintiff's
interrogatory responses were not complete and lacked the necessary
specificity required under Fed.R.Civ.P. 33. The court granted the
motion to compel, requiring as follows:

Plaintiff shall provide defendants with an updated schedule
(similar to the schedule attached to plaintiff‘s May 5, 2003 letter
sent 133 defense counsel Craddock) setting forth i11 detail the
monies that plaintiff alleges defendants misappropriated and which
form the basis for plaintiff‘s damages in this case. The schedule
must itemize each check, payment or transaction which plaintiff
claims was misappropriated by the defendants, and must contain a
description of the facts, bases or opinions which. plaintiff
contends support or refute plaintiff‘s contention that defendants
improperly' used. or diverted funds or assets belonging to the
partnership. These responses shall be provided to defendants by
June lB, 2005.

IT IS SO ORDERED.

\… L’\

TU M. PHAM`
United States Magistrate Judge

r//V/<b$`

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 447 in
case 2:00-CV-02863 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

EssEE

 

P. Preston Wilson

GOTTEN WILSON & SAVORY
200 Jefferson Avenue

Ste. 900

1\/1emphis7 TN 38103

J ames R. NeWsom

HARRIS SHELTON HANOVER V\MLSH7 PLLC.

One Commerce Square
Ste. 2700
1\/1emphis7 TN 38103--255

Jonathan P. Lakey
PIETRANGELO COOK
64 1 0 Poplar

Ste. 190

1\/1emphis7 TN 38119

John K. Walsh

HARRIS SHELTON HANOVER V\MLSH7 PLLC
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

J. Alan Hanover

HARRIS SHELTON HANOVER V\MLSH7 PLLC
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Jeffrey K. Fleishmann

WYATT TARRANT & CO1\/[BS7 LLP- Memphis
1715 Aaron Brenner Dr.

Ste. 800

1\/1emphis7 TN 38120

Case 2:00-cv-02863-.]P|\/|-tmp Document 447 Filed 05/06/05 Page 4 of 4 Page|D 371

Richard J. Pober

POBER ROSS & PASQUINI
P.O. BOX 710

V\i’estpc¢rt7 CT 06881

Gordon B. OlsWing

CHARLES R. PERKINS LAW OFFICES
100 N. Main

Suite 2626

1\/1emphis7 TN 38103

Charles R. Perkins

LAW OFFICE OF CHARLES R. PERKINS
100 N. Main St.

Ste. 2626

1\/1emphis7 TN 38103

Harold E. Smith
4824 Stone Park Blvd
Olive Branch, MS 38654

Seymour S. Rosenberg
ROSENBERG LAW OFFICE
371 Carroll Ave.

1\/1emphis7 TN 38105

Stephen Smith
3904 Auburn Rd
Phonix City7 AL 36870

Dave W. Dogan
7191 Kingsland
1\/1emphis7 TN 38125

Robert E. Craddock

WYATT TARRANT & CO1\/[BS
P.O. BOX 775000

1\/1emphis7 TN 38177--500

Honorable J on McCalla
US DISTRICT COURT

